 Case 20-00154-ELG            Doc 30 Filed 12/13/20 Entered 12/14/20 00:04:19                       Desc Imaged
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NTCHRG (02/03)




                                           United States Bankruptcy Court for
                                               the District of Columbia
                                        E. Barrett Prettyman U. S. Courthouse
                                          333 Constitution Ave, NW #1225
                                                Washington, DC 20001
                                                    (202) 354−3280
                                                www.dcb.uscourts.gov


In Re                                                                                   Case No. 20−00154−ELG
Walter Leroy Peacock
Debtor                                                                                  Chapter 11



                                              NOTICE OF HEARING
                                             ====================

   NOTICE IS HEREBY GIVEN that a hearing will be held before the Honorable Elizabeth L. Gunn, United States
Bankruptcy Judge for the District of Columbia, in the above−referenced case on the following date and time:
DATE: 1/13/2021
TIME: 10:30 AM
LOCATION: via Zoom
   The following matter(s) will be considered and acted upon at the time:
at the request of the Court, the status hearing scheduled for 12/16/2020 is continued to 1/13/2021 at 10:30 AM.
The hearing will be via Zoom videoconference. The meeting information can be obtained by emailing Courtroom
Deputy Aimee Mathewes at aimee_mathewes@dcb.uscourts.gov.

Dated: 12/11/20                                            For the Court:
                                                           Angela D. Caesar
                                                           BY: am
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                                                    Certificate of Notice Page 2 of 3
                                                                 United States Bankruptcy Court
                                                                      District of Columbia
In re:                                                                                                                    Case No. 20-00154-ELG
Walter Leroy Peacock                                                                                                      Chapter 11
       Debtor(s)
                                                       CERTIFICATE OF NOTICE
District/off: 0090-1                                                     User: admin                                                                 Page 1 of 2
Date Rcvd: Dec 11, 2020                                                  Form ID: ntchrg                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                   Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                    regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 13, 2020:
Recip ID                   Recipient Name and Address
dbpos                    + Walter Leroy Peacock, 2920 Pennsylvania Avenue, SE, Washington, DC 20020-3837

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                         BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                        NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 13, 2020                                              Signature:            /s/Joseph Speetjens




                                     CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 11, 2020 at the address(es) listed
below:
Name                                 Email Address
Brett Weiss
                                     on behalf of Debtor In Possession Walter Leroy Peacock brett@BankruptcyLawMaryland.com
                                     chetan@brettweiss.com;r51781@notify.bestcase.com

Kevin R. Feig
                                     on behalf of Creditor Deutsche Bank National Trust Company as Trustee for Fremont Home Loan Trust 2006-2, Asset-Backed
                                     Certificates, Series 2006-2 bankruptcymd@mwc-law.com, bankruptcyva@mwc-law.com

Kevin R. Feig
                                     on behalf of Creditor HSBC Bank USA National Association, as Trustee for Nomura Home Equity Loan, Inc., Asset-Backed
                                     Certificates, Series 2006-FM2 bankruptcymd@mwc-law.com, bankruptcyva@mwc-law.com

Kristen S. Eustis
                                     on behalf of U.S. Trustee U. S. Trustee for Region Four Kristen.S.Eustis@usdoj.gov

U. S. Trustee for Region Four
                                     USTPRegion04.DC.ECF@USDOJ.GOV
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District/off: 0090-1                   User: admin                               Page 2 of 2
Date Rcvd: Dec 11, 2020                Form ID: ntchrg                          Total Noticed: 1
TOTAL: 5
